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                       Your item was delivered at 2:54 pm on September 28, 2020                            # Delivered
                       in WASHINGTON, DC 20037 to EMB OF PAKISTAN. The                                    September 28, 2020 at 2:54 pm
                       item was signed for by M Z.                                                        WASHINGTON, DC 20037


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